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                          8                              UNITED STATES DISTRICT COURT
                          9                         CENTRAL DISTRICT OF CALIFORNIA
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                          11 MICHAEL MIGLOZZI,                               Case No. 2:15-cv-04000-PJW
D OLL A MIR & E LEY LLP




                          12                Plaintiff,                       Assigned to Courtroom 23
                                                                             Magistrate Judge Patrick J. Walsh
                          13 v.
                                                                             ORDER DISMISSING
                          14 CAPITAL ONE BANK, N.A.; and DOES                DEFENDANT CAPITAL ONE
                             1-10, inclusive,                                BANK (USA), N.A. WITH
                          15                                                 PREJUDICE
                                          Defendant(s).
                          16                                                 Complaint Filed: May 28, 2015
                                                                             Trial Date:    TBA
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                                  [PROPOSED] ORDER DISMISSING DEFENDANT CAPITAL ONE BANK (USA), N.A. WITH PREJUDICE
                          Case 2:15-cv-04000-PJW Document 24 Filed 10/08/15 Page 2 of 2 Page ID #:74



                           1                                        ORDER
                           2        THIS CAUSE is before the Court upon the stipulation by and between Plaintiff
                           3 Michael Migliozzi and Defendant Capital One Bank (USA), N.A., erroneously sued
                           4 as “Capital One Bank, N.A.,” to dismiss the above-captioned action with prejudice.
                           5        GOOD CAUSE APPEARING, the Court approves the Stipulation and orders
                           6 as follows:
                           7        The action is hereby DISMISSED WITH PREJUDICE.
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                           9 IT IS SO ORDERED.
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                          11 Dated: October 8, 2015                         _________________________________
D OLL A MIR & E LEY LLP




                                                                            The Honorable Patrick J. Walsh
                          12                                                United States Magistrate Judge
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                                 [PROPOSED] ORDER DISMISSING DEFENDANT CAPITAL ONE BANK (USA), N.A. WITH PREJUDICE
